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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No. 20-cv-02665-PAB

HUMAN RIGHTS DEFENSE CENTER,

      Plaintiff,

v.

BOARD OF COUNTY COMMISSIONERS FOR ADAMS COUNTY, COLORADO,
RICHARD REIGENBORN, Sheriff, in his official and individual capacity,
CHRIS LAWS, in his individual capacity, and
DOES 1-10, in their individual capacities,

      Defendants.

                                    MINUTE ORDER

Entered by Chief Judge Philip A. Brimmer

      This matter is before the Court on Plaintiff’s Motion for Preliminary Injunction
[Docket No. 5].

         The preliminary injunction hearing will be held on October 28, 2020 beginning at
8:30 a.m. There will be a 15-minute break at approximately 10:15 a.m. and a lunch
break between 12:15 a.m. and 1:15 p.m. Each side will be given an hour and forty-five
minutes cumulatively to conduct both its direct examinations and its cross-
examinations. The Court will keep track of each side’s time. If, for instance, one side
uses an hour and forty-five minutes to conduct direct examinations, it will have no time
left to cross-examine the opposing side’s witnesses. One hour will be reserved at the
end of the hearing, 1:15 p.m. to 2:15 p.m., for arguments on the motion.

      The preliminary injunction hearing will be conducted by video teleconference
(“VTC”). The Court will, at a later date, provide details as to how lawyers and
witnesses can call in to the hearing. The public may attend such hearing by telephone.
No recording of the hearing is permitted. See D.C.COLO.LCivR 83.1.

       The Court finds that, pursuant to Fed. R. Civ. P. 43(a), good cause and
compelling circumstances exist for testimony “by contemporaneous transmission from a
different location.” Such testimony is permissible with “appropriate safeguards” that
“ensure (i) accurate identification of the witness; (ii) protection against any outside
influence on the witness; and (iii) accurate transmission.” Gil-Leyva v. Leslie, 780 F.
App'x 580, 588 (10th Cir. 2019) (unpublished).
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        Each side must ensure that reliable video conferencing arrangements are made
for its witnesses. Each side must ensure that its witnesses are testifying from a room
where there will be no interruptions and that has a connection with sufficient bandwidth.
Each side will also be responsible for ensuring that each witness it calls has copies of
all exhibits which may be referenced during direct testimony. The opposing side must
notify counsel of any exhibits it wishes the witness to have for purposes of cross-
examination. Given the logistics involved and the time allotted for the hearing, the
Court encourages both sides to pare down their witness lists. Accordingly, it is

       ORDERED that the preliminary injunction hearing is set for Wednesday,
October 28, 2020 at 8:30 a.m. via VTC before Chief Judge Philip A. Brimmer. The
public may access the hearing by following the procedures outlined in General Order
2020-3. It is further

        ORDERED that the parties shall exchange with each other, and submit to the
Court electronically, their exhibits on or before October 26, 2020 at 5:00 p.m. It is
further

        ORDERED that plaintiff may file a reply, not to exceed 10 pages, by October 23,
2020.


        DATED October 21, 2020.




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